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06                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
07                                    AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )          CASE NO. CR11-259-RAJ
09         Plaintiff,                     )
                                          )
10         v.                             )          PROPOSED FINDINGS OF FACT
                                          )          AND DETERMINATIONS AS TO
11   TEDDY MORRIS,                        )          ALLEGED VIOLATIONS OF
                                          )          SUPERVISED RELEASE
12         Defendant.                     )
     ____________________________________ )
13

14                                       INTRODUCTION

15          I conducted a hearing on alleged violations of supervised release in this case on

16 September 16, 2014. The United States was represented by Roscoe Jones, and defendant was

17 represented by Dennis Carroll. The proceedings were electronically recorded.

18                               CONVICTION AND SENTENCE

19          Defendant had been convicted on or about June 15, 2012 on charges of wire fraud. The

20 Hon. Richard A. Jones of this court sentenced defendant to 18 months of imprisonment,

21 followed by two years of supervised release.

22 / / /


     PROPOSED FINDINGS OF FACT AND
     DETERMINATIONS AS TO ALLEGED
     VIOLATIONS OF SUPERVISED RELEASE
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01                ALLEGED VIOLATIONS AND DEFENDANT'S ADMISSIONS

02          In an application dated September 9, 2014, USPO Julie Jansen alleged that defendant

03 violated the conditions of supervised release in five respects:

04          (1)    Use of methamphetamine on or about August 31, 2014;

05          (2)    Failing to follow the instructions of the probation officer on August 26, 2014;

06          (3)    Failing to notify the probation officer of a change in residence, on or about

07                 September 3, 2014;

08          (4)    Failing to participate in substance abuse treatment since September 3, 2014; and

09          (5)    Failing to report to the probation officer on September 9, 2014.

10 I advised defendant as to these charges and as to his constitutional rights. He admitted the all

11 five alleged violations numbered, waived any hearing as to whether they occurred, and

12 consented to having the matter set for a disposition hearing before Judge Jones.

13                     RECOMMENDED FINDINGS AND CONCLUSIONS

14          Based upon the foregoing, I recommend the court find that defendant has violated the

15 conditions of his supervised release in the five respects alleged, and conduct a disposition

16 hearing. That hearing has been scheduled for October 3, 2014 at 11:00 a.m.

17          Defendant has been detained pending a final determination by the court.

18          DATED this 16th day of September, 2014.

19
                                           s/ John L. Weinberg
20                                        United States Magistrate Judge

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     PROPOSED FINDINGS OF FACT AND
     DETERMINATIONS AS TO ALLEGED
     VIOLATIONS OF SUPERVISED RELEASE
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01 cc:    Sentencing Judge          :    Hon. Richard A. Jones
          Assistant U.S. Attorney   :    Roscoe Jones
02        Defense Attorney          :    Dennis Carroll
          U. S. Probation Officer   :    Julie Jansen
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     PROPOSED FINDINGS OF FACT AND
     DETERMINATIONS AS TO ALLEGED
     VIOLATIONS OF SUPERVISED RELEASE
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